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IN THE UNITED STATES DISTRICT COURT .  Qp7,, “8 ®
FOR THE DISTRICT OF PUERTORICO =, “/ Jn 8
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UNITED STATES OF AMERICA, 7, hy Te
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Plaintiff, 789 10%"

v.
CRIMINAL NO. 18-413 (ADC)

[49] JONATHAN GONZALEZ-AGOSTO
aka “Tatan’’, “Demoni” and “Tatancito”,

Defendant.

 

 

. PLEA AGREEMENT
(Pursuant to Rule 11(c)(1)(A)&(B)FRCP)

TO THE HONORABLE COURT:

COMES NOW the United States of America through its counsel W. Stephen Muldrow,
United States Attorney for the District of Puerto Rico; Myriam Y. Fernandez-Gonzalez, Assistant
United States Attorney, Criminal Chief; Max Pérez-Bouret, Assistant United States Attorney, Unit
Chief, Narcotics Unit; Kelly Zenén-Matos, Assistant United States Attorney; defendant’s counsel,
Diego H. Alcala-Laboy, Esq.; and defendant [49] JONATHAN GONZALEZ-AGOSTO, pursuant
to Rule 11(c)(1)(A)&(B) of the Federal Rules of Criminal Procedure, state to this Honorable Court,
that they have reached an agreement, the terms and conditions of which are as follows:

1. COUNTS TO WHICH DEFENDANT PLEADS GUILTY

Count One

Beginning on a date unknown, but no later than in or about the year 2014, and continuing
up to and until the return of the instant indictment, in the Municipality of San Juan, District of
Puerto Rico and within the jurisdiction of this Court, [49] JONATHAN GONZALEZ-AGOSTO
and others, did knowingly and intentionally, combine, conspire, and agree with each other and

with diverse other persons known and unknown to the Grand Jury, to commit an offense against
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the United States, that is, to knowingly and intentionally possess with intent to distribute controlled
substances, to wit: in excess of one (1) kilogram of a mixture or substance containing a detectable
amount of heroin, a Schedule I, Narcotic Drug Controlled Substance; in excess of five (5)
kilograms or more of a mixture or substance containing a detectable amount of cocaine, a Schedule
II, Narcotic Drug Controlled Substance; a mixture or substance containing a detectable amount of
marihuana, a Schedule I, Controlled Substance; a mixture or substance containing a detectable
amount of Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and a
mixture or substance containing a detectable amount of Alprazolam (commonly known as Xanax),
a Schedule IV Controlled Substance; within one thousand (1,000) feet of real property comprising
a playground, all within the Municipality of San Juan, Puerto Rico. All in violation of Title 21,
United States Code, Sections 841(a)(1), 846, and 860.

2. STIPULATED AMOUNT OF NARCOTICS

For purposes of this plea agreement, as to Count One of the indictment, the parties stipulate
that defendant conspired to possess with intent to distribute at least 3.5 kilograms but less than 5
kilograms of cocaine.

3. MAXIMUM PENALTIES

The penalty for the offense charged in Count One is a term of imprisonment of not less
than ten (10) years or more than life pursuant to Title 21, United States Code, Section
841(a)(1)(b)(1)(A); a fine not to exceed twenty (20) million dollars ($20,000,000), pursuant to
Title 21, United States Code, Section 841(a)(1)(b)(1)(A) and 860; a supervised release term of at
least ten (10) years, pursuant to Title 21, United States Code, Section 841(b)(1)(B)(i); and a Special
Monetary Assessment of one hundred dollars ($100.00), pursuant to Title 18, United States Code,

Section 3013(a)(2)(A).
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However, the penalty for the offense charged in Count One of the indictment with a

stipulated amount of narcotics of at least 3.5 kilograms but less than 5 kilograms of cocaine, is a

term of imprisonment of no less than five (5) years and up to eighty (80) years, pursuant to Title
21, United States Code, Section 841(b)(1)(C) and 860; a fine not to exceed ten (10) million dollars
($10,000,000), pursuant to Title 21, U, Section 841(b)(1)(C); a supervised release term of at least

eight (8) years, pursuant to Title 21, United States Code, Section 841(b)(1)(C); and a Special

Monetary Assessment of one hundred dollars ($100.00), pursuant to Title 18, United States Code,

Section 3013(a)(2)(A).
APPLICABILITY OF SENTENCING GUIDELINES

4,
Defendant acknowledges that the Court may impose a sentence in accordance with the

applicable provision(s) of the Sentencing Guidelines, Title 18 United States Code, Section 3551,

et seq. (hereinafter Guidelines), which are now advisory. Further, the defendant acknowledges to

be aware that parole has been abolished and the imposition of a sentence may not be suspended.

5. SPECIAL MONETARY ASSESSMENT
Prior to defendant’s change of plea hearing, the defendant shall pay a special monetary
assessment of one hundred dollars ($100.00) per count of conviction.

6. FINES AND RESTITUTION
The defendant is aware that the Court may, pursuant to Section SE1.2 of the Sentencing

Guidelines Manual, order the defendant to pay a fine sufficient to reimburse the government for
the costs of any imprisonment, probation or supervised release ordered and also the Court may
impose restitution. As part of this Plea Agreement, the defendant agrees to produce complete

information regarding all restitution victims and defendant agrees to execute a financial statement

to the United States (OBD Form 500).
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Fs RULE 11(e)(1)(B) WARNINGS
The defendant is aware that the defendant's sentence is within the sound discretion of the
sentencing judge and the advisory Sentencing Guidelines (including the Guidelines Policy

Statements, Application, and Background Notes). The defendant understands and acknowledges

 

that the Court is not a party to this Plea Agreement and thus, is not bound by this agreement or the
sentencing calculations and/or recommendations contained herein. Defendant specifically
acknowledges and admits that the Court has jurisdiction and authority to impose any sentence
within the statutory maximum set for the offense to which the defendant pleads guilty. Defendant
is aware that the court may accept or reject the Plea Agreement, or may defer its decision whether
to accept or reject the Plea Agreement until it has considered the pre-sentence report. Should the
Court impose a sentence up to the maximum established by statute, the defendant cannot, for that
reason alone, withdraw the guilty plea, and will remain bound to fulfill all of the obligations under
this Plea Agreement.

8. SENTENCING GUIDELINES CALCULATIONS

Although the Guidelines are now advisory, United States v. Booker, 125 S.Ct. 738, 744,
160 L.Ed.2d 621 (2005), makes clear the sentencing court is required to consider the Guidelines
“sentencing range established for... the applicable category of offense committed by the applicable
category of defendant” in imposing sentence. Booker, 125 S.Ct. At 744. Therefore, the United
States and the defendant submit the following advisory Sentencing Guidelines calculations as to

Count One of the indictment.
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SENTENCING GUIDELINES CALCULATION TABLE
COUNT ONE
Title 21, U.S.C., Section 841(a)(1), 846, and 860

 

 

 

 

 

 

 

 

BASE OFFENSE LEVEL [U.S.S.G. §2D1.1(c)(6)] 28
(Possession of at least 3.5 kilograms but less than 5 kilograms of cocaine)
PROTECTED LOCATION [U.S.S.G. §2D1.2(a)(1)] ir
(Distribution within 1,000 of playground)
Aggravating Role [§ 3B1.1] 7)
Acceptance of Responsibility [§ 3E1.1] -3
TOTAL OFFENSE LEVEL 29
IMPRISONMENT RANGE IF CRIMINAL HISTORY CATEGORY I 87-108
IF CRIMINAL HISTORY CATEGORY II 97-121
IF CRIMINAL HISTORY CATEGORY III Dita
IF CRIMINAL HISTORY CATEGORY IV 140-175
IF CRIMINAL HISTORY CATEGORY V 151-188
IF CRIMINAL HISTORY CATEGORY VI months
ZONE D

 

a. SENTENCE RECOMMENDATION: After due consideration of the relevant

factors enumerated in 18 U.S.C. § 3553(a), at sentencing, the parties will recommend

a sentence of 87 months of imprisonment.

b. CRIMINAL HISTORY CATEGORY: The parties make NO stipulation as to the

defendant’s criminal history. However, the parties agree that local criminal cases

KSC2013 G0046 and KSC2016 G0253 are all relevant conduct to the instant

conspiracy offense pursuant to U.S.S.G. §5G1.3(b)(1) and §5K2.23.

 
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9. NO FURTHER ADJUSTMENTS OR DEPARTURES

The United States and the defendant agree that no further adjustment or departures to the
defendant’s base offense level shall be sought by the parties.

10. WAIVER OF APPEAL

Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed
by the Court is one hundred and eight (108) months of imprisonment or less, the defendant waives
the right to appeal any aspect of this case’s judgment and sentence, including but not limited to the
term of imprisonment or probation, restitution, fines, forfeiture, and the term and conditions of
supervised release.

11. . SATISFACTION WITH COUNSEL

The defendant represents to the Court to be satisfied with defendant’s counsel, Diego H.
Alcala-Laboy, Esq., and indicates that counsel has rendered effective legal assistance.

12. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

Defendant understands that by entering into this agreement, defendant surrenders certain
rights as provided in this agreement. Defendant understands that the rights of criminal defendants
include the following:

a. Ifthe defendant had persisted in a plea of not guilty to the charges, defendant would
have had the right to a speedy jury trial with the assistance of counsel. The trial
may be conducted by a judge sitting without a jury if the defendant, the United
States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay persons
selected at random. The defendant and the defendant's attorney would assist in

selecting the jurors by removing prospective jurors for cause where actual bias or
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other disqualification is shown, or by removing prospective jurors without cause by
exercising peremptory challenges. The jury would have to agree, unanimously,
before it could return a verdict of either guilty or not guilty. The jury would be
instructed that the defendant is presumed innocent, that it could not convict the
defendant unless, after hearing all the evidence, it was persuaded of the defendant's
guilt beyond a reasonable doubt, and that it was to consider each charge separately.

c.  Ifatrial is held by the judge without a jury, the judge would find the facts and, after
hearing all the evidence and considering each count separately, determine whether
or not the evidence established the defendant's guilt beyond a reasonable doubt.

d. Ata trial, the United States would be required to present its witnesses and other

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evidence against the defendant. The defendant would be able to confront those
witnesses and defendant's attorney would be able to cross-examine them. In turn,
the defendant could present witnesses and other evidence on defendant's own
behalf. If the witnesses for the defendant would not appear voluntarily, defendant
could require their attendance through the subpoena power of the Court.

e. Ata trial, the defendant could rely on the privilege against self-incrimination to
decline to testify, and no inference of guilty could be drawn from the defendant's
refusal to testify. If the defendant desired to do so, the defendant could testify on
the defendant's own behalf.

13. STATEMENT OF FACTS
The accompanying Statement of Facts signed by the defendant is hereby incorporated into

this Plea Agreement. Defendant adopts the Statement of Facts and agrees that the facts therein are
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accurate in every respect and, had the matter proceeded to trial, that the United States would have
proven those facts beyond a reasonable doubt.

14. LIMITATIONS OF PLEA AGREEMENT

This plea agreement binds only the United States Attorney’s Office for the District of
Puerto Rico and the defendant; it does not bind any other federal district, state or local authorities.

15. ENTIRETY OF PLEA AGREEMENT

This written agreement constitutes the complete Plea Agreement between the United
States, the defendant, and the defendant’s counsel. The United States has made no promises or
representations except as set forth in writing in this plea agreement and deny the existence of any
other term and conditions not stated herein.

16. AMENDMENTS TO PLEA AGREEMENT

No other promises, terms, conditions will be entered unless in writing, signed by all parties.

17. DISMISSAL OF REMAINING COUNTS

At sentencing, should the defendant comply with the terms of this Plea Agreement, the
Government will move to dismiss the remaining Counts of the indictment.

18. VOLUNTARINESS OF GUILTY PLEA

The defendant acknowledges that no threats have been made against the defendant and that

the defendant is pleading guilty freely and voluntarily because the defendant is guilty.

(SIGNATURES ON NEXT PAGE)
 

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RESPECTFULLY SUBMITTED.

W. STEPHEN MULDROW
United States Attorney

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Diego H. Alcala-Laboy, Esq.
Counsel for Defendant =
Dated: %2-27°*<35

  

 

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Max Peré2-Bouret Jonathan Gonzalez-A gosto
Assistant U.S. Attorney Defendant
Unit Chief, Narcotics Unit Dated: yo-ts-2rey/¢5

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pte Kelly Zenén-Matos
Assistant U.S, Attorney
Dated: jolu[
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I have consulted with my counsel and fully understand all my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand
my rights with respect to the provision of the Sentencing Guidelines, Policy Statements,
Application, and Background Notes which may apply in my case. [have read this Plea Agreement
and carefully reviewed every part of it with my attorney. My counsel has translated the plea
agreement it to me in the Spanish language and I have no doubts as to the contents of the

agreement. I fully understand this agreement and I voluntarily agree to it.

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Date: “& 7 &t 72 Smad ic, | ema, Key Veo
Jonathan Gonzalez-Agosto |
Defendant

I am the attorney for the defendant. I have fully explained to the defendant the defendant’s
rights with respect to the pending Indictment. Further, I have reviewed the provisions of the
Sentencing Guidelines, Policy Statements, Application, and Background Notes, and have fully
explained to the defendant the provisions of those guidelines which may apply in this case. I have
also explained to the defendant the advisory nature of the Sentencing Guidelines. I have carefully
reviewed every part this Plea Agreement with the defendant. I have translated the plea agreement
and explained it in the Spanish language to the defendant who has expressed having no doubts as
to the contents of the agreement To my knowledge, the defendant is entering into this agreement
is voluntarily, intelligently and with full knowledge of all the consequences of defendant’s plea of
guilty.

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Date: VA O- lL - 2d i> tc + L )
_~ Dieg6 H. Alcala-Laboy, Esq.
Counsel for Defendant

 

 
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STATEMENT OF FACTS

In conjunction with the submission of the accompanying plea agreement in this case, the
United States of America submits the following statement setting forth the United States' version
of the facts leading to the defendant's acceptance of criminal responsibility for defendant’s
violation of Title 21, United States Code, Sections 841 (a)(1)846.

Specifically, defendant admits that beginning on a date unknown, but no later than in or
about the year 2014, and continuing up to and until the return of the indictment, in the Municipality
of San Juan, District of Puerto Rico, and within the jurisdiction of this Court, [49] JONATHAN
GONZALEZ-AGOSTO, the defendant herein, did knowingly and intentionally, combine,
conspire, and agree with other co-conspirators and with diverse other persons known and unknown
to the Grand Jury, to commit an offense against the United States, that is, to knowingly and
intentionally possess with intent to distribute controlled substances, to wit: in excess of one (1)
iffopram of a mixture or substance containing a detectable amount of heroin, a Schedule I,
Narcotic Drug Controlled Substance; in excess of five (5) kilograms or more of a mixture or
substance containing a detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled
Substance; a mixture or substance containing a detectable amount of marihuana, a Schedule I,
Controlled Substance; a mixture or substance containing a detectable amount of Oxycodone
(commonly known as Percocet), a Schedule II Controlled Substance; and a mixture or substance
containing a detectable amount of Alprazolam (commonly known as Xanax), a Schedule IV
Controlled Substance; within one thousand (1,000) feet of real property comprising a playground, |
all within the Municipality of San Juan, Puerto Rico. All in violation of Title 21, United States
Code, Sections 841(a)(1), 846, and 860.

The object of the conspiracy was the large-scale distribution of controlled substances at the
Figueroa Ward (commonly referred to as “La Colectora”) and other areas, located within the
Municipality of San Juan, Puerto Rico, all for significant financial gain and profit.

Specifically, [49] JONATHAN GONZALEZ-AGOSTO acted as a runner and seller within
the conspiracy. It was further part of the manner and means of the conspiracy that runners worked
under the supervision of the leaders and drug point owners. Runners were responsible for providing
sufficient controlled substances to the sellers for further distribution at the drug points. They were
also responsible for collecting the proceeds of drug sales. Many of the sellers would also serve as

runners for the drug points within their assigned shift.
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It was further part of the manner and means of the conspiracy that sellers were accountable
for the drug proceeds and the narcotics sold at the drug distribution points. Sellers would distribute
street quantity amounts of heroin, cocaine, marihuana, oxycodone, and alprazolam.

While multiple kilograms of cocaine, heroin, marihuana, oxycodone and alprazolam were
distributed during the span of the conspiracy, for the sole purpose of this plea agreement, defendant
[49] JONATHAN GONZALEZ-AGOSTO acknowledges that he conspired with the rest of the
members of the conspiracy charged in Count One of the indictment to possess with intent to
distribute at least 3.5 kilograms but less than 5 kilograms of cocaine.

Defendant also acknowledges that on April 23, 2016 and September 16, 2016, during the
span of the conspiracy, he sold cocaine to a DEA informant at the Figueroa Ward (commonly
referred to as “La Colectora’’).

At trial, the United States would have proven beyond a reasonable doubt that the defendant
is guilty as charged in Count One. This would have been proven through physical and
documentary evidence, including, but not limited to, video recordings, testimony of DEA and
PRPD agents, expert witnesses, cooperating defendants, confidential informants, photographs,
documents, laboratory tests, including chemical and firearm tests, and other physical evidence.

Discovery was provided to the defendant.

 

 

CGC <4
Kelly Zenén-Matos _-Diego H. Alcala-Laboy, Esq.
Assistant U.S /Atto Counsel for Defendant
Dated: fo [I 17 al Dated: “O- 27-207 /

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Jonathan Gonzalez-A gosto
Defendant
Dated: hy |, /-)Q/6

 
